             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:17-cr-00046-MR-DLH-2


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                         ORDER
                                 )
JORDAN HEATH OOCUMMA,            )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 138].

     Upon review of the Government’s motion, and for cause shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 13] is GRANTED, and the Superseding Bill of Indictment is

hereby DISMISSED WITH PREJUDICE as to this Defendant only.

     The Clerk is directed to provide copies of this Order to counsel for the

Government, the U.S. Marshals Service, and the U.S. Probation Office.

     IT IS SO ORDERED.
                               Signed: December 29, 2017




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